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 5
     Attorney for Defendant
 6   JASON STEWART-HANSON
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )
                                                 )       Cr. No. S-07-248 WBS
12                         Plaintiff,            )
                                                 )      STIPULATION AND [PROPOSED]
13                                               )      ORDER CONTINUING JUDGMENT
                                                 )      AND SENTENCING FOR DEFENDANTS
14                  v.                           )      LARRY SIXTO AMARO, GERARDO
                                                 )      LOPEZ MORA, ERNEST PAUL
15                                               )      KILLINGER, AND JASON STEWART-
                                                 )      HANSON
16   MARIO DIAZ, JR., et al.,                    )
                                                 )      DATE: April 4, 2011
17                         Defendants.           )      TIME: 8:30 a.m.
                                                 )      JUDGE: Honorable William B. Shubb
18                                               )
19          The United States of America, through Assistant U.S. Attorney Jason Hitt; defendant Larry
20   Sixto Amaro, through his counsel Peter Kmeto; defendant Gerardo Lopez Mora, through his counsel
21   Hayes Gable III; defendant Ernest Paul Killinger, through his counsel Michael Bigelow; and
22   defendant Jason Stewart-Hanson, through his counsel Scott L. Tedmon, hereby stipulate and agree
23   as follows:
24          1. The judgment and sentencing hearing for defendants Larry Sixto Amaro, Gerardo Lopez
25   Mora, Ernest Paul Killinger, and Jason Stewart-Hanson is currently set for Monday, April 4, 2011
26   at 8:30 a.m.
27          2. Counsel for defendants Larry Sixto Amaro, Gerardo Lopez Mora, Ernest Paul Killinger,
28   and Jason Stewart-Hanson need additional time to develop issues related to sentencing.

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 1             3. Defense counsel has advised the government that additional time is needed to develop
 2   issues related to sentencing. After considering the matter, the government has no objection to
 3   continuing the sentencing date to May 2, 2011. However, the government will object to any further
 4   requested continuance of the sentencing hearing for defendants Larry Sixto Amaro, Gerardo Lopez
 5   Mora, Ernest Paul Killinger, and Jason Stewart-Hanson.
 6             4. Accordingly, it is hereby stipulated and the parties agree that the sentencing hearing
 7   currently set for April 4, 2011 be vacated. It is further stipulated and the parties agree that the
 8   sentencing hearing be set for Monday, May 2, 2011 at 8:30 a.m.
 9             5. Karen Kirksey Smith has approved the requested court date.
10             6. Scott L. Tedmon has been authorized by the all counsel to sign this stipulation on their
11   behalf.
12   IT IS SO STIPULATED.
13   DATED: March 31, 2011                          BENJAMIN B. WAGNER
                                                    United States Attorney
14
                                                     /s/ Jason Hitt
15                                                  JASON HITT
                                                    Assistant United States Attorney
16
     DATED: March 31, 2011                          LAW OFFICES OF PETER KMETO
17
                                                    /s/ Peter Kmeto
18                                                  PETER KMETO
                                                    Attorney for Defendant Larry Sixto Amaro
19
     DATED: March 31, 2011                          LAW OFFICES OF HAYES GABLE III
20
                                                    /s/ Hayes Gable III
21                                                  HAYES GABLE III
                                                    Attorney for Gerardo Lopez Mora
22
     DATED: March 31, 2011                          LAW OFFICES OF MICHAEL BIGELOW
23
                                                    /s/ Michael Bigelow
24                                                  MICHAEL BIGELOW
                                                    Attorney for Ernest Paul Killinger
25
     DATED: March 31, 2011                          LAW OFFICES OF SCOTT L. TEDMON
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                                                    /s/ Scott L. Tedmon
27                                                  SCOTT L. TEDMON
                                                    Attorney for Jason Stewart-Hanson
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 1                                             ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation,
 3          IT IS ORDERED that the judgment and sentencing date of Monday, April 4, 2011 is hereby
 4   VACATED as to defendants Larry Sixto Amaro, Gerardo Lopez Mora, Ernest Paul Killinger, and
 5   Jason Stewart-Hanson.
 6          IT IS FURTHER ORDERED that the judgment and sentencing for defendants Larry Sixto
 7   Amaro, Gerardo Lopez Mora, Ernest Paul Killinger, and Jason Stewart-Hanson is set for Monday,
 8   May 2, 2011 at 8:30 a.m.
 9          IT IS SO ORDERED.
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11   DATED: March 31, 2011
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